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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS              )         Case No. 3:19-md-2885
 EARPLUG PRODUCTS LIABILITY )
 LITIGATION                         )
                                    )         Judge M. Casey Rodgers
 This Document Relates to All Cases )
                                              Magistrate Judge Gary R. Jones
                                    )

   EMERGENCY MOTION FOR PROTECTIVE ORDER REGARDING
    DEPOSITIONS OF ELLIOTT BERGER AND DR. ERIC FALLON

      Defendants respectfully move that the Court enter a protective order against

any further deposition of hybrid witnesses Elliot Berger and Dr. Eric Fallon.

Plaintiffs have no need to depose Mr. Berger or Dr. Fallon in their expert capacities

because Plaintiffs have already explored all of the opinions the witnesses will

provide through a total of seven days of depositions. If the Court does permit an

additional deposition of either witness, Defendants ask that the deposition not exceed

3.5 hours.

      Defendants also respectfully request that the Court render a decision on this

motion before December 18, when Elliott Berger is currently scheduled to be

deposed.

                                 BACKGROUND

      Pursuant to Rule 26(a)(2)(C), Defendants have disclosed two fact witnesses,

Elliott Berger and Dr. Eric Fallon, as hybrid witnesses who may also provide expert
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opinion testimony at trial. See Ex. 1; Ex. 2. Mr. Berger and Dr. Fallon’s opinions

are based, as the expert testimony of hybrid witnesses must be, on the “direct and

personal knowledge” that they acquired about the CAEv2 and the military’s use of

hearing protection “in the ordinary course of [their] job function[s].” See Hartford

Steam Boiler Inspection & Ins. Co. v. Menada, Inc., 2018 WL 3911212, at *6 (S.D.

Fla. April 4, 2018).

      Defendants disclosed Mr. Berger and Dr. Fallon as hybrid witnesses out of an

abundance of caution, in case Plaintiffs argue that any of the testimony Mr. Berger

and Dr. Fallon have already provided as fact witnesses is subject to Rule 702. None

of the opinions contained in either disclosure are new to Plaintiffs. Plaintiffs have

investigated Mr. Berger and Dr. Fallon’s personal knowledge at great length, for a

total of seven days of depositions, and have already explored all of the opinions

contained in their disclosures. Plaintiffs have no need to depose Mr. Berger and Dr.

Fallon again, on the same topics they have already covered, just because Defendants

have taken the precautionary step of filing a hybrid witness disclosure under Rule

26(a)(2)(C).

      When Plaintiffs first asked to depose Mr. Berger and Dr. Fallon in their

capacities, Defendants were willing to compromise by making the witnesses

available for a 3.5-hour deposition. Plaintiffs did not accept that compromise, and

the parties submitted the issue to the Court in their letter briefs regarding the expert


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deposition protocol. On December 1, 2020, the Court determined that a motion for

a protective order was the proper vehicle for seeking to limit or bar the depositions

of Mr. Berger and Dr. Fallon.

      In compliance with Local Rule 7.1(B), Defendants sought a conference with

Plaintiffs’ counsel on December 3. The parties held a conference the next day, and

Plaintiffs’ counsel made a final representation that they could not agree to any

limitations on the depositions of Mr. Berger and Dr. Fallon on December 7, 2020.

Now, two days later, Defendants are filing this motion. With only nine days left

until the deposition of Mr. Berger, Defendants must designate this an emergency

motion and request resolution before December 18, 2020.

                                  ARGUMENT

      District courts have recognized that hybrid witnesses need not be deposed

unless the witnesses’ disclosures contain “new information” not available at the time

of the witnesses’ fact depositions. Little Hocking Water Ass’n v. E.I. DuPont de

Nemours & Co., 2015 WL 1105840, at *9 (S.D. Ohio March 11, 2015). In Little

Hocking, the defendant disclosed three employees as hybrid witnesses, all of whom

had already been deposed by the plaintiff. See id. at *2 n.1. The court ordered the

defendant to provide supplemental Rule 26(a)(2)(C) disclosures, and then required

the plaintiff to notify the Court “whether and why it believes that based on the

supplemental disclosures, it was notified of new information that requires further


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deposition testimony of the three employee experts, without which Plaintiff would

be prejudiced.” Id. Another court denied a party’s request for a deposition of a

hybrid witness because the witness had already provided “extensive testimony” on

the disclosed topics during his fact deposition. Luminara Worldwide LLC v. Liown

Elecs. Co., 2016 WL 6920516, at *3 (D. Minn. Feb. 25, 2006).

      As detailed below, both Dr. Fallon and Mr. Berger have already provided

extensive testimony on the topics contained in their disclosures. The disclosures do

not contain “new information” not available during the fact depositions (the last of

which, for both witnesses, took place just three months ago). Plaintiffs thus will not

be prejudiced if they cannot depose Mr. Berger and Dr. Fallon for a sixth and third

day, respectively. At the very least, any deposition should be limited to 3.5 hours.

      A.     Elliott Berger

      Mr. Berger is an acoustical engineer who ran Aearo’s research laboratory for

several decades, and was one of the principal figures in the development of the

CAEv2. Mr. Berger has already been deposed for five days in this matter. This

includes three days of Rule 30(b)(6) depositions, in which Mr. Berger was

designated to testify on the very topics covered in his disclosure: the design of the

CAEv2, the testing of the CAEv2, and the fitting instructions for the CAEv2. See

Ex. 3 (11/13/19 Berger Dep. Tr.) at 55:2-69:25 (discussing topics of first 30(b)(6)

deposition); Ex. 4 (12/12/19 Berger Dep. Tr.) at 428:8-12 (continuing first 30(b)(6)


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deposition); Ex. 5 (9/25/2020 Berger Dep. Tr.) at 14:20-18:2 (discussing topics of

second 30(b)(6) deposition).

      Mr. Berger’s hybrid witness disclosure contains facts and opinions that he has

already discussed on many occasions in prior depositions. Mr. Berger discussed the

first topic in his disclosure—the story of the development of the CAEv2, and Aearo’s

collaboration with the U.S. military and the Institute at St. Louis—at great length in

his fact deposition on December 12, 2019. See Ex. 6 (12/12/19 Berger Direct Exam

Tr.). The second topic of Mr. Berger’s disclosure—Aearo’s REAT testing of the

CAEv2 and the writing of the “Flange Memo”—was the focus of his first 30(b)(6)

deposition. See, e.g., Ex. 3 (11/13/19 Berger Dep. Tr.) at 195:22-337:18. Mr. Berger

also explained during his 30(b)(6) deposition why the “fitting tip” that Aearo

included on consumer packaging and transmitted to the military, which advised users

that fitting could be “improved” by folding back the opposing flanges prior to

insertion, was appropriate and consistent with the findings from Aearo’s REAT

testing. See, e.g., Ex. 4 (12/12/19 Berger Dep. Tr.) at 476:22-495:25.

      The last topic of Mr. Berger’s disclosure—potential alternative designs for the

CAEv2—is the very 30(b)(6) topic on which he was deposed less than three months

ago. See Ex. 5 (9/25/2020 Berger Dep. Tr.) at 17:1-7 (Plaintiffs’ Counsel: “The

other topics we are going to talk, the potential for safer alternative designs, including

potential safety effects of different aspects of the plugs, including the length and


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thickness, flanges and the materials used.”). Plaintiffs certainly have not acquired

any “new information” since that deposition took place. Little Hocking, 2015 WL

1105840, at *9. Moreover, Mr. Berger already provided his opinions about potential

alternative designs in the deposition. He explained that the tight tolerance needed

for the CAEv2’s nonlinear filter made it impossible to construct a more flexible stem

assembly, as Plaintiffs would have preferred. See Ex. 5 (9/25/2020 Berger Dep. Tr.)

at 215:4-13. He explained that, when Aearo did narrow the nonlinear filter and stem

for subsequent versions of the Combat Arms earplugs, the change had no effect on

the fit of the earplug. See id. at 166:1-6. And Plaintiffs themselves repeatedly

brought up the French military’s decision to purchase separate nonlinear and

conventional earplugs, instead of an earplug that could switch between the two

modes of attenuation. See, e.g., id. at 104:5-105:10.

      Plaintiffs have had many opportunities to depose Mr. Berger about all aspects

of the CAEv2’s design, testing, and labeling. There is no new information for

Plaintiffs to explore in an additional deposition, and Mr. Berger’s disclosure contains

no opinion that could take Plaintiffs by surprise. The Court should thus grant

Defendants’ motion for a protective order, or at the very least, limit any further

deposition of Mr. Berger to 3.5 hours.




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      B.     Dr. Eric Fallon

      Dr. Fallon is an audiologist who served in the United States Army for 24 years

in a variety of hearing conservation roles, including as Program Manager for the

Army Hearing Program and as the Director of Audiology and Speech at the Walter

Reed National Military Medical Center.

      The facts and opinions contained in Dr. Fallon’s disclosure relate to his

experience with the CAEv2 in the military, and to his more general experience with

the Army’s hearing conservation program. As evidenced by the citations in Dr.

Fallon’s disclosure, the facts and opinions in his disclosure were discussed at length

in his deposition on September 3 and 4, 2020. See Ex. 2.

      In his prior two-day deposition, Dr. Fallon discussed the regulations that

governed the Army’s hearing conservation program and its implementation thereof,

including by providing testimony regarding the Army’s requirements that medically

trained personnel fit and examine service members at least annual to ensure proper

fit and condition of preformed earplugs such as the CAEv2. See, e.g., Ex. 7

(9/4/2020 Fallon Dep. Tr.) at 755-761; 768: 13-25; 769: 1-14; 770-777.

      Dr. Fallon similarly has provided testimony that he and military audiologists

were aware they could fold back the opposing flanges of the CAEv2 as needed to

achieve a good fit, id. at 780-81. He further testified about the various training

materials and tools used by the Army that included guidance to roll back the flanges


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of the CAEv2 under certain circumstances, see e.g., Ex. 8 (9/3/2020 Fallon Dep. Tr.)

at 65-67, and that in his experience the military “tend[s] to test [their] own products

and make their own determinations about how a product performs and how to use

the product.” Ex. 7 (9/4/2020 Fallon Dep. Tr.) at 872:13-18.

      Additionally, Dr. Fallon has testified on the topic of non-use of hearing

protection throughout the military. Indeed when asked whether noise-induced

hearing loss is preventable, Dr. Fallon testified, in part, “[t]he one area that I would

say the military has struggled with this is that if your hearing protecting solution

reduces a soldier’s hearing to the point where they feel like it’s affecting their

auditory situational awareness, it has been my experience that soldiers will almost

always choose the risk of long-term hearing loss over their immediate needs.” Ex. 8

(9/3/2020 Fallon Dep. Tr.) 326: 9-17 (emphasis added). Furthermore, Plaintiffs

expended a significant amount of time deposing Dr. Fallon about an Army Hearing

Center of Excellence video that Dr. Fallon characterized in his deposition as, a

“motivational video to try to encourage people to protect their hearing.” Ex. 7

(9/4/2020 Fallon Dep. Tr.) at 455:20-25. Accordingly, Plaintiffs have had ample

opportunity to question Dr. Fallon about the non-use of hearing protection devices

in the military.

      Dr. Fallon provided two days of deposition testimony and a signed declaration

(attached as Ex. 9) in this litigation as it relates to the topics above. Plaintiffs have


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had significant opportunity to, and have in fact have, questioned Dr. Fallon as to

these topics, and further deposition testimony is not required and/or should at the

very least be limited to 3.5 hours.

                                  CONCLUSION

      For the foregoing reasons, Defendants respectfully request the Court grant a

protective order preventing additional depositions of Mr. Berger and Dr. Fallon, or

in the alternative, limit any such deposition to 3.5 hours.

 Dated: December 9, 2020                       Respectfully submitted,


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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      Pursuant to Local Rule 7.1(F), counsel for Defendants certify that this motion

contains 1,881 words, excluding the case style, signature block, and certificates of

compliance with the Local Rules.



Dated: December 9, 2020                   Respectfully submitted,


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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      Pursuant to Local Rule 7.1(B), counsel for Defendants certify that they held a

conference to discuss the relief sought in this motion with Plaintiffs’ counsel Jennifer

Hoekstra and Max Kelly on Friday, December 4, 2020.                Plaintiffs’ counsel

represented that they would not accept limitations on the depositions of Mr. Berger

and Dr. Fallon on December 7, 2020.



 Dated: December 9, 2020                    Respectfully submitted,


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                        CERTIFICATE OF SERVICE
      The undersigned hereby certifies that on December 9, 2020, a copy of the

foregoing was filed on the Court’s CM/ECF system, which will serve all counsel

of record.

   DATED: December 9, 2020               /s/ Robert C. Brock
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